Case:20-12377-MER Doc#:587-1 Filed:10/06/20                   Entered:10/06/20 10:49:33 Page1 of 2




                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO
                               Bankruptcy Judge Elizabeth E. Brown


   In re:                                                 Case No. 20-12377 EEB
                                                          Chapter 11
   Sklar Exploration Company, LLC,
   Debtor.


   In re:                                                 Case No. 20-12380 EEB
                                                          Chapter 11
   Sklarco, LLC,
   Debtor.

                                                          Joint Administered Under
                                                          Case No. 20-12377 EEB




                                                 ORDER

            CONSIDERING the Ex Parte Motion for Examination of Howard Sklar (the “2004

  Motion”) filed by JF Howell Interests, LP, the record of the case, and pursuant to Federal Rule of

  Bankruptcy Procedure 2004 and Local Bankruptcy Rule 2004-1, and having found good and just

  cause shown for the relief requested in the 2004 Motion;

            IT IS ORDERED that the 2004 Motion be and hereby is GRANTED.

            IT IS FURTHER ORDERED that JF Howell Interests, LP is authorized to examine

  Howard Sklar, individually, pursuant to Federal Rule of Bankruptcy Procedure 2004 and Local

  Rule of Bankruptcy Procedure 2004-1 with respect to the pre-petition operation of the Debtors, as

  well as the Debtors’ transactions with Howard Sklar and various related corporate entities, trusts,

  individuals and other insiders, and other issues related to this case at a date no earlier than fourteen

  (14) days from the date of service of this Order.




                                                      1
Case:20-12377-MER Doc#:587-1 Filed:10/06/20                  Entered:10/06/20 10:49:33 Page2 of 2




         IT IS FURTHER ORDERED that the examination of Howard Sklar, individually, occur

  simultaneously with the examination by the Unsecured Creditors Committee at which examination

  JF Howell Interests, LP shall be entitled to fully participate.


     Dated this           day of October, 2020.

                                                         BY THE COURT:




                                                             Elizabeth E. Brown
                                                             United States Bankruptcy Judge




                                                    2
